               Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 1 of 10



 1

 2

 3

 4

 5
                                UNITED STATES DISTRICT COURT
 6
                              WESTERN DISTRICT OF WASHINGTON
 7

 8
     AMERICAN MANAGEMENT SERVICES EAST,               Civil Action No.
 9   LLC, a Washington limited liability company,
     AMERICAN MANAGEMENT SERVICES LLC, a
                                                       COMPLAINT FOR
10   Washington limited liability company, AMERICAN
                                                       (1) DECLARATORY RELIEF, (2)
     MANAGEMENT SERVICES CALIFORNIA INC., a            BREACH OF CONTRACT,
11   Washington corporation, GOODMAN REAL              (3) INSURANCE BAD FAITH, (4)
     ESTATE, INC., a Washington corporation, formerly  VIOLATION OF THE
12   d/b/a GOODMAN FINANCIAL SERVICES, INC.,           INSURANCE FAIR CONDUCT
     STANLEY HARRELSON, an individual, JOHN            ACT, & (5) VIOLATION OF THE
13   GOODMAN, an individual, PINNACLE IRWIN            WASHINGTON CONSUMER
     LLC, a Washington limited liability company, and  PROTECTION ACT
14
     PINNACLE MONTEREY LLC, a Washington limited
15
     liability company,

             Plaintiffs,                                        DEMAND FOR JURY TRIAL
16

17           vs.

18   SCOTTSDALE INSURANCE COMPANY, a
     Delaware corporation, and LEXINGTON
19   INSURANCE COMPANY, a Delaware corporation,
20
             Defendants.
21

22   For their Complaint against Defendants, Plaintiffs allege as follows:

23                                             I. PARTIES

24          1.1.    Plaintiff American Management Services East LLC is a Washington limited

25


     COMPLAINT- 1                                                            BALL JANIK LLP
                                                                       101 SW Main Street, Suite 1100
     Case No.:                                                             Portland, Oregon 97204
                                                                          Telephone 503-228-2525

     1014735\v1
                 Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 2 of 10



 1   liability company with its principal place of business in Seattle, Washington, and has paid all
 2   taxes and license fees thereby allowing it to bring this action, and is a “Named Insured under the

 3   Policies.
             1.2     Plaintiff American Management Services LLC is a Washington limited liability
 4
     company with its principal place of business in Seattle, Washington, and has paid all taxes and
 5
     license fees thereby allowing it to bring this action, and is a “Named Insured” under the Policies.
 6
             1.3     Plaintiff American Management Services California Inc. is a Washington
 7
     corporation with its principal place of business in Seattle, Washington, and has paid all taxes and
 8
     license fees thereby allowing it to bring this action, and is a “Named Insured” under the Policies.
 9           1.4     Plaintiff Goodman Real Estate, Inc., formerly d/b/a Goodman Financial Services,
10   Inc., is a Washington corporation with its principal place of business in Seattle, Washington, and

11   has paid all taxes and license fees thereby allowing it to bring this action, and is a “Named Insured”

12   under the Policies.
             1.5     Plaintiff Pinnacle Irwin LLC is a Washington limited liability company with its
13
     principal place of business in Seattle, Washington, and has paid all taxes and license fees thereby
14
     allowing it to bring this action, and is a “Named Insured” under the Policies.
15
             1.6     Plaintiff Pinnacle Monterey LLC is a Washington limited liability company with its
16
     principal place of business in Seattle, Washington, and has paid all taxes and license fees thereby
17   allowing it to bring this action, and is a “Named Insured” under the Policies.
18           1.7     Plaintiff Stanley Harrelson resides in King County and, at all relevant times, was a
19   manager of American Management Services LLC, Pinnacle Irwin LLC, and Pinnacle Monterey

20   LLC, and chairman of American Management Services California Inc., and is an “insured” under

21
     the Policies.
             1.8     Plaintiff John A. Goodman resides in King County and, at all relevant times, was a
22
     member of American Management Systems LLC, Pinnacle Irwin LLC, and Pinnacle Monterey
23
     LLC, and the chairman of American Management Services LLC and Goodman Real Estate, Inc,
24
     and is an “insured” under the Policies.
25


     COMPLAINT- 2                                                             BALL JANIK LLP
                                                                         101 SW Main Street, Suite 1100
     Case No.:                                                               Portland, Oregon 97204
                                                                            Telephone 503-228-2525

     1014735\v1
               Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 3 of 10



 1           1.9     Defendant Scottsdale Insurance Company (“Scottsdale”) is a Delaware corporation
 2   and is licensed to do business in Washington.

 3           1.10    Defendant Lexington Insurance Company (“Lexington”) is a Delaware corporation
     and is licensed to do business in Washington.
 4
                                         II. JURISDICTION AND VENUE
 5
             2.1     This court has personal jurisdiction over all parties because Defendants transact
 6
     business or transacted business during all relevant times in the Western District of Washington.
 7
             2.2     This court has jurisdiction over the subject matter of this action pursuant to 28
 8
     U.S.C. §1332(a), because there is complete diversity of citizenship between the parties. The
 9   amount in controversy exceeds the sum of $75,000. Venue lies with this court pursuant to 28
10   U.S.C. §1391(a), because the events which give rise to this dispute occurred in the Western District

11   of Washington.

12                                        III. GENERAL ALLEGATIONS
             3.1      This action derives from facts and allegations within two underlying cases which
13
     remain under adjudication in California and Georgia.
14
             3.2     Plaintiffs are insureds under Commercial General Liability Policy Nos.
15
     RBS0001646, RBS 0001718, RBS 0002725, and RBS 0002791, issued by Scottsdale for the
16
     policy years of April 10, 2008 through April 10, 2009, April 10, 2009 through April 10, 2010,
17   April 10, 2010 through April 10, 2011, and April 10, 2011 through April 10, 2012 (together, the
18   “Scottsdale Policies”), respectively.
19           3.3     The Scottsdale Policies each require Scottsdale to indemnify Plaintiffs for damages

20   and obligates Defendants to defend Plaintiffs in the event of suit. Specifically, the Scottsdale

21
     Polices provide in relevant part that:
                     We will pay those sums that the insured becomes legally obligated
22
                     to pay as damages because of “bodily injury” or “property damage”
                     to which this insurance applies. We will have the right and duty to
23
                     defend the insured against any “suit” seeking those damages.
24                   However, we will have no duty to defend the insured against any
                     “suit” seeking damages for “bodily injury” or “property damage” to
25                   which this insurance does not apply. We may, at our discretion,
                     investigate any “occurrence” and settle any claim or “suit” that may
                     result.
     COMPLAINT- 3                                                              BALL JANIK LLP
                                                                          101 SW Main Street, Suite 1100
     Case No.:                                                                Portland, Oregon 97204
                                                                             Telephone 503-228-2525

     1014735\v1
                Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 4 of 10



 1           3.4      Plaintiffs are also insureds under Commercial General Liability Policy Nos.
 2   3470023, 0328814, 2606695, and 0631748, issued by Lexington for the policy years of April 10,

 3   2003 through April 10, 2004, April 10, 2004 through April 10, 2005, April 10, 2005 through April
     10, 2006, and April 10, 2007 through April 10, 2008 (together, the “Lexington Policies”; and
 4
     together with the Scottsdale Policies, the “Policies”), respectively.
 5
             3.5      The Lexington Policies each require Lexington to indemnify Plaintiffs for damages
 6
     and obligates Defendants to defend Plaintiffs in the event of suit. Specifically, the Lexington
 7
     Policies provide in relevant part that:
 8
                      We will pay those sums that the insured becomes legally obligated
 9
                      to pay as damages because of “bodily injury” or “property damage”
                      to which this insurance applies. We will have the right and duty to
10                    defend the insured against any “suit” seeking those damages.
                      However, we will have no duty to defend the insured against any
11                    “suit” seeking damages because of “bodily injury” or “property
                      damage” to which this insurance does not apply. We may, at our
12                    discretion, investigate any “occurrence” and settle any claim or
                      “suit” that may result.
13
             3.6      Plaintiffs Pinnacle Monterey LLC, Pinnacle Irwin LLC, American Management
14
     Services California Inc., American Management Services LLC, Goodman Real Estate, Inc.,
15
     Stanley Harrelson, and John Goodman (the “California Plaintiffs”) are named as defendants in
16
     Monterey Bay Military Housing, LLC, et al. vs. Pinnacle Monterey LLC, et al., United States
17
     District Court, Northern District of California, San Jose Division, Case No. 14-cv-03953-BLF1 (the
18   “California Action”).
19           3.7      The Fifth Amended Complaint filed in the California Action contains numerous

20   allegations that the California Plaintiffs unintentionally caused property damage and bodily injury

21   resulting from the California Plaintiffs’ alleged mismanagement of military housing facilities
     located on United States military facilities in California that are commonly known as the Presidio
22
     of Monterey/Fort Ord, Fort Irwin, Moffett Field, and Camp Parks.
23

24

25   1
      That lawsuit was removed from state court in an action styled as Monterey Bay Military Housing, LLC, et al. v.
     Pinnacle Monterey LLC, at al., Superior Court of the State of California, County of Monterey, Case No. M 112710.
     The term “California Action” refers jointly to the state court and federal court lawsuits.
     COMPLAINT- 4                                                                         BALL JANIK LLP
                                                                                     101 SW Main Street, Suite 1100
     Case No.:                                                                           Portland, Oregon 97204
                                                                                   Telephone 503-228-2525

     1014735\v1
               Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 5 of 10



 1           3.8     Plaintiffs American Management Services East LLC, American Management
 2   Services LLC, Goodman Real Estate, Inc., Stanley Harrelson, and John Goodman (the “Georgia

 3   Plaintiffs”) were named as defendants in Fort Benning Family Communities, LLC & Fort Belvoir
     Residential Communities, LLC v. American Management Services East, LLC, et al., in the Superior
 4
     Court of Muscogee County, State of Georgia, Civil Action File No.: SU10CV2025-F (the “Georgia
 5
     Action,” and together with the California Action, the “Underlying Litigation”).
 6
             3.9     The Fifth Amended Complaint filed in the Georgia Action contains numerous
 7
     allegations that the Georgia Plaintiffs unintentionally caused property damage and bodily injury
 8
     resulting from the Georgia Plaintiffs’ alleged mismanagement of military housing facilities located
 9   on United States military facilities in Georgia and Virginia that are commonly known as Fort
10   Benning and Fort Belvoir.

11           3.10    Under established Washington law, the duty to defend only requires the complaint

12   to allege facts that could potentially impose liability on the insured. Woo v. Fireman’s Fund
     Insurance Company, 161 Wn.2d 43, 164 P.3d 454 (2007).
13
             3.11    The allegations made in the Underlying Litigation could potentially impose liability
14
     on the Plaintiffs.
15
             3.12    Following the filings of the complaints in the Underlying Litigation, Plaintiffs
16
     timely tendered the defense and indemnity obligations arising from the Underlying Litigation to
17   Defendants. Defendants are obligated to defend Plaintiffs in the Underlying Litigation and
18   indemnify Plaintiffs for any settlement or judgments in the Underlying Litigation.
19           3.13    Defendants did not defend under a reservation of rights, and treated its own

20   interests with more care than those of Plaintiffs’. Defendants denied coverage without conducting a

21
     reasonable investigation and without reasonably applying the terms of the Policies to the
     allegations in the Underlying Litigation. Defendants wrongfully denied coverage to all Plaintiffs
22
     for both defense and indemnity in the Underlying Litigation, and abandoned Plaintiffs forcing
23
     them to incur substantial legal fees and costs.
24

25


     COMPLAINT- 5                                                             BALL JANIK LLP
                                                                         101 SW Main Street, Suite 1100
     Case No.:                                                               Portland, Oregon 97204
                                                                            Telephone 503-228-2525

     1014735\v1
               Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 6 of 10



 1                                       IV. FIRST CAUSE OF ACTION
 2                                        (DECLARATORY RELIEF)

 3           4.1     Plaintiffs reallege Paragraphs 1.1 through 3.11 and incorporate by reference the
     same as though fully set forth herein.
 4
             4.2     Despite their obligations to defend and indemnify Plaintiffs, Defendants denied
 5
     coverage to Plaintiffs under the Policies with respect to the Underlying Litigation.
 6
             4.3     By reason of the foregoing, an actual and justifiable controversy exists between the
 7
     parties with respect to coverage under the Policies. Plaintiffs therefore request a declaration and an
 8
     adjudication of the rights, duties and liabilities of the parties regarding Plaintiffs’ claims for
 9   defense and indemnity arising from the Underlying Litigation.
10           4.4     Plaintiffs seek a determination by this court that: (1) Defendants owe each Plaintiff

11   a separate and distinct duty to defend in the Underlying Litigation under their respective Policies;

12   (2) Defendants breached these duties; (3) There are no exclusions or limitations which apply to
     abrogate those duties; (4) Defendants must reimburse Plaintiffs for any fees and expenses they
13
     have incurred and must immediately undertake the defense of Plaintiffs in the Underlying
14
     Litigation; (5) Defendants must indemnify Plaintiffs against all liability for damages in the
15
     Underlying Litigation; and (6) as a result of Defendants’ bad faith denial of coverage, Defendants
16
     are estopped from asserting coverage defenses and are obligated to reimburse Plaintiffs for all
17   incurred defense fees and costs and to indemnify Plaintiffs for any monetary settlement and/or
18   judgment in the Underlying Litigation.
19                                   V. SECOND CAUSE OF ACTION

20                                        (BREACH OF CONTRACT)

21
             5.1     Plaintiffs reallege Paragraphs 1.1 through 4.5 and incorporate by reference the same
     as though fully set forth herein.
22
             5.2     Defendants failed to fully accept, acknowledge and undertake their contractual
23
     duties and obligations to Plaintiffs under their respective Policies with respect to the Underlying
24
     Litigation.
25


     COMPLAINT- 6                                                                BALL JANIK LLP
                                                                            101 SW Main Street, Suite 1100
     Case No.:                                                                  Portland, Oregon 97204
                                                                               Telephone 503-228-2525

     1014735\v1
               Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 7 of 10



 1           5.3     Defendants breached their contractual obligations under their respective Policies by
 2   failing or declining to accept and/or perform their contractual duties and obligations with respect to

 3   Plaintiffs’ rights to a defense and payment of Plaintiffs’ legal liability for damages in the
     Underlying Litigation.
 4
             5.4     Plaintiffs have performed all of their respective obligations and conditions
 5
     precedent under the Policies, except any that were waived or excused.
 6
             5.5     As a direct and proximate result of Defendants’ breaches of the Policies, Plaintiffs
 7
     are and were deprived of the benefit of insurance coverage provided under the Policies and have
 8
     suffered damages in amounts to be proven at trial. These damages include statutory interest on the
 9   liquidated damages constituting those expenses which Plaintiffs have paid.
10                                   VI. THIRD CAUSE OF ACTION

11                                       (INSURANCE BAD FAITH)

12           6.1     Plaintiffs reallege Paragraphs 1.1 through 5.5 and incorporate by reference the same
     as though fully set forth herein.
13
             6.2     Defendants breached their duties of good faith to Plaintiffs, their insureds, based on
14
     the covenant of good faith and fair dealing.
15
             6.3     Defendants breached their duties of good faith by their acts and omissions alleged
16
     above, among others.
17           6.4     Defendants’ breaches of their duties proximately caused damages to Plaintiffs, in an
18   amount to be proven at trial. These damages include, but are not limited to: (1) unreimbursed
19   defense fees and costs; (2) liability for damages suffered by the California Plaintiffs in the

20   California Action; (4) liability for damages suffered by the Georgia Plaintiffs in the Georgia

21
     Action; (5) consequential damages, and (6) prejudgment interest at the statutory rate.
             6.5     As a consequence of Defendants’ bad faith conduct, Defendants are estopped from
22
     asserting policy defenses. Kirk v. Mt. Airy Ins. Co., 134 Wn.2d 558, 564 (1998). Accordingly,
23
     Defendants are obligated to indemnify Plaintiffs for the full amount of defenses fees and costs and
24
     any monetary settlement or judgment in the Underlying Litigation.
25


     COMPLAINT- 7                                                               BALL JANIK LLP
                                                                           101 SW Main Street, Suite 1100
     Case No.:                                                                 Portland, Oregon 97204
                                                                              Telephone 503-228-2525

     1014735\v1
               Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 8 of 10



 1                                       VII. FOURTH CAUSE OF ACTION
 2                           (INSURANCE FAIR CONDUCT ACT – RCW 48.30.015)

 3           7.1     Plaintiffs reallege Paragraphs 1.1 through 6.5 and incorporate by reference the same
     as though fully set forth herein.
 4
             7.2     Defendants unreasonably denied Plaintiffs coverage for defense and indemnity
 5
     arising from the Underlying Litigation.
 6
             7.3     As a result of Defendants’ unreasonable denial of coverage, Plaintiffs have and will
 7
     continue to suffer actual damages in an amount to be proven at trial.
 8
             7.4     Under RCW 48.30.015(2), Plaintiffs are entitled to an award of up to three times
 9   their actual damages sustained as a result of Defendants’ unreasonable denial of coverage.
10           7.5     Under RCW 40.30.015(3), Plaintiffs are also entitled to an award of its reasonable

11   attorneys’ fees and actual and statutory litigation costs, including expert witness fees, incurred in

12   bringing this action.
             7.6     Plaintiffs timely filed the statutorily-required written notice to the Defendants and
13
     office of the insurance commissioner at least twenty days prior to bringing this action.
14
                                         VIII. FIFTH CAUSE OF ACTION
15
                  (WASHINGTON CONSUMER PROTECTION ACT – RCW CHAPTER 19.86)
16
             8.1     Plaintiffs reallege Paragraphs 1.1 through 7.5 and incorporate by reference the same
17   as though fully set forth herein.
18           8.2     Defendants’ acts and omissions violate Washington’s public policy as set forth in
19   statutes, regulations and case law governing the business of insurance.

20           8.3     Defendants’ acts and omissions in the handling of Plaintiffs’ claims for coverage

21
     affect the public interest and have the potential for repetition.
             8.4     Defendants’ acts and omissions violate the Washington Consumer Protection Act
22
     and Plaintiffs seek actual damages in an amount to be proven at trial, including treble damages for
23
     each violation of the Washington Consumer Protection Act.
24
             8.5     Under RCW 19.86.090, Plaintiffs are entitled to recover the costs of bringing this
25
     action, including an award of reasonable attorneys’ fees.

     COMPLAINT- 8                                                              BALL JANIK LLP
                                                                          101 SW Main Street, Suite 1100
     Case No.:                                                                Portland, Oregon 97204
                                                                             Telephone 503-228-2525

     1014735\v1
                 Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 9 of 10



 1                                             PRAYER FOR RELIEF
 2   WHEREFORE, Plaintiffs seek the following relief:

 3          1.        Entry of an Order of Declaratory Judgment providing the relief requested in
     Paragraph 4.4;
 4
            2.        Entry of judgment in the full amount of Plaintiffs’ claims for breach of contract,
 5
     in an amount to be determined at trial;
 6
            3.        Entry of judgment in the full amount of Plaintiffs’ damages for the tort of bad
 7
     faith, in an amount to be determined at trial;
 8
            4.        Entry of judgment in an amount equal to three times the actual damages sustained
 9   by Plaintiffs as a result of Defendants’ unreasonable denial of coverage;
10          4.        Entry of a judgment in the full amount of Plaintiffs’ actual damages for violation

11   of the Washington Consumer Protection Act and entry of a judgment of treble damages for each

12   violation of the Act;
            5.        Entry of a judgment for prejudgment interest;
13
     ///
14
     ///
15
     ///
16
     ///
17   ///
18   ///
19   ///

20   ///

21
     ///
     ///
22
     ///
23
     ///
24
     ///
25
     ///

     COMPLAINT- 9                                                             BALL JANIK LLP
                                                                         101 SW Main Street, Suite 1100
     Case No.:                                                               Portland, Oregon 97204
                                                                            Telephone 503-228-2525

     1014735\v1
              Case 2:15-cv-01004-TSZ Document 1 Filed 06/22/15 Page 10 of 10



 1          6.     Entry of judgment for Plaintiffs’ attorneys fees and costs pursuant to the rule
 2   established in Olympic Steamship, RCW 48.30.015(3), and RCW 19.86.090.

 3          7.     For such further relief as this Court deems just and equitable.
            Dated this 22nd day of June, 2015.
 4
                                                         BALL JANIK LLP
 5
                                                         /s/ Kyle A. Sturm________________
 6                                                       Kyle A. Sturm, pro hac vice pending
                                                         ksturm@balljanik.com
 7                                                       James C. Prichard, WSBA #30077
                                                         jprichard@balljanik.com
 8
                                                         Benjamin C. Seiken, WSBA #46732
 9
                                                         bseiken@balljanik.com
                                                         Attorney for Plaintiffs
10
                                                         BOWERS FOREMAN PLLC
11
                                                         /S/ Linda L. Foreman_____________
12                                                       Linda L. Foreman, WSBA #11817
                                                         linda@lindaforeman.com
13

14                                                       Attorneys for Plaintiffs
                                                         Trial Attorneys: Linda L. Foreman and
15
                                                         Kyle A. Sturm
16

17

18

19

20

21

22

23

24

25


     COMPLAINT- 10                                                          BALL JANIK LLP
                                                                       101 SW Main Street, Suite 1100
     Case No.:                                                             Portland, Oregon 97204
                                                                          Telephone 503-228-2525

     1014735\v1
